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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

VS.                                CASE NO. 4:17CR00293-46BSM

JAMES SCOTT OLIVER                                                                   DEFENDANT


                    NOTICE TO APPEAL FILED IN FORMA PAUPERIS


       Comes now Defendant, James Scott Oliver, by and through his attorney, Laura L.
Calhoun, and hereby gives notice of his intent to appeal to the Eighth Circuit Court of Appeals
the sentence of the U.S District Court entered herein on July 23, 2021.
       Defendant entered a pleas of guilty to RICO Conspiracy, in violation of 18 USC, Section
1962(d), and Conspiracy to Distribute and Possess with Intent to Distribute at least 500 grams of
Methamphetamine in violation of 21 USC 846 and 841(b)(1)(A). At a sentencing hearing held on
July 23, 2021, Defendant received a sentence of 327 months imprisonment in the United States
Bureau of Prison, five (5) years supervised release; and a special assessment in the amount
$200.00. The Judgement and Commitment was filed herein on July 28, 2021.
       Defendant has been represented by appointed counsel and has been incarcerated since his
arrest, as such, he asserts that he has no resources to pay for counsel for the purpose of appeal.
He therefore moves that he be declared indigent, and that counsel be appointed to him for the
purposes of appeal.


                                                      Respectfully submitted,
                                                      James Scott Oliver, Defendant


                                                      Laura L. Calhoun
                                                      Laura L. Calhoun (2011134)
                                                      711 West 3rd St.
                                                      Little Rock, Arkansas 72201
                                                      501-404-4874
                                                      laura@hcglawoffice.com
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                                 CERTIFICATE OF SERVICE

        I, Laura L. Calhoun, do hereby certify that undersigned counsel has been served via
electronic filing on this 2nd day of August, 2021, to the following:

       Liza Brown
       Assistant U.S. Attorney


                                                 Laura L. Calhoun
